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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

SECURITIES AND EXCHANGE                     §
COMMISSION, et al.,                         §
                                            §
      Plaintiffs,                           §
                                            §
v.                                          §          Civil Action No. 3:09-CV-00298-N
                                            §
STANFORD INTERNATIONAL BANK                 §
LTD., et al.,                               §
                                            §
      Defendants.                           §


RALPH S. JANVEY, et al.,                    §
                                            §
      Plaintiffs,                           §
                                            §
v.                                          §          Civil Action No. 3:12-CV-04641-N
                                            §
GREENBERG TRAURIG, et al.,                  §
                                            §
      Defendants.                           §


                                        ORDER

      This Order addresses the objections to the settlement between Defendant Hunton &

Williams LLP (“Hunton”) and Plaintiffs Ralph S. Janvey (the “Receiver”); the Official

Stanford Investors Committee (“OSIC”); and, individually and on behalf of a putative class

of Stanford investors, Pam Reed, Samuel Troice, and Michoacan Trust (collectively, the

“Investor Plaintiffs”). See, e.g., [2581]; [2594]; [2595]; [2599]; [2600]; [2601]; [2603];




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[2611]; [2614]; [2615]; [2616]; [2617]; [2619]; [2620]; [2628]; [2630].1          2
                                                                                      The Court

overrules the objections and, by separate documents, approves the settlement, approves the

associated attorneys’ fees, and enters the bar order.

                      I. THE HUNTON LITIGATION AND SETTLEMENT

       This Order arises from the long-running litigation between the Receiver, OSIC, the

Investor Plaintiffs, and Hunton. This litigation stems from Hunton’s representation of the

entities R. Allen Stanford used to carry out his far-reaching Ponzi scheme. The facts of

Stanford’s scheme are well established, see, e.g., Janvey v. Democratic Senatorial Campaign

Comm., 712 F.3d 185, 188–89 (5th Cir. 2013), and the Court does not recount them in great

depth here. Essentially, Stanford’s scheme entailed the sale of fraudulent certificates of

deposit (“CDs”) by Stanford International Bank, Ltd. (“SIBL”), an offshore bank located in

Antigua. Although Stanford represented to investors that the CD proceeds were invested

only in low-risk, high-return funds, in reality they were funneled into speculative private

equity investments and used to fund Stanford’s extravagant lifestyle.

       Relying on a respondeat superior theory of liability based largely on the conduct of

former Hunton partner Carlos Loumiet, Plaintiffs brought this suit against Hunton. Through

Loumiet, Hunton allegedly conspired with Stanford and aided his fraud through its legal

representation of his entities. In particular, Plaintiffs allege that, as part of the conspiracy,


       1
        Unless otherwise indicated, all docket entry references are to the docket sheet in SEC
v. Stanford International Bank, Ltd., No. 09-CV-00298-N (N.D. Tex.)
       2
         The Court does not consider Greenberg Traurig, LLP’s objection, see [2613], given
the parties’ resolution of that objection, see [2631].


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Hunton helped the Stanford entities evade litigation, avoid regulation, escape taxes, and

invest stolen money, among other things.

       After Stanford’s scheme came to light, the Securities and Exchange Commission

(“SEC”) brought a securities fraud action against SIBL. As part of that action, the Court

appointed the Receiver to take control of the various entities Stanford used to carry out his

scheme. Among other duties, the Court charged the Receiver with recovering assets and

distributing them to Stanford’s victims. To do so, the Receiver sued various individuals and

entities for losses the Stanford entities suffered as a result of those individuals and entities’

conduct. The Court also appointed OSIC to represent the interests of Stanford investors and

to bring claims on their behalf as assigned by the Receiver. The Receiver and OSIC sued

Hunton for negligence; aiding, abetting, or participating in breaches of fiduciary duties;

breaches of fiduciary duties; fraudulent transfer; aiding, abetting, or participating in

fraudulent transfers; and negligent retention and supervision of personnel. The Investor

Plaintiffs additionally sued Hunton for aiding and abetting violations of the Texas Securities

Act; aiding, abetting, or participating in breaches of fiduciary duties; aiding, abetting, and

participating in a fraudulent scheme; and civil conspiracy.

       The settlement for which the Receiver, OSIC, the Investor Plaintiffs, and Hunton seek

approval would provide a global resolution to all claims arising from Hunton’s relationships

with Stanford. In exchange for a $34 million payment from Hunton – money that would be

distributed through the Receiver’s claims distribution process – the Receiver, OSIC, and the

Investor Plaintiffs would release all of their claims against Hunton. Additionally, the




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Receiver also agreed to seek a bar order permanently enjoining any other pending or future

claims against Hunton arising from its relationship with Stanford. If the Court does not enter

the bar order, the settlement allows Hunton to terminate the agreement. The Court-appointed

Examiner supports the settlement and the SEC does not object. However, Stanford, several

individual investors, and a few entities who are defendants in other Stanford-related actions

have filed objections.

     II. THE COURT OVERRULES THE OBJECTIONS TO THE HUNTON SETTLEMENT

       First, Stanford objects to the Hunton settlement on the grounds that (1) the attorneys’

fees under the settlement are excessive, (2) Plaintiffs are unlikely to succeed on the merits

of their claims against Hunton, and (3) the settlement should be stayed until the Court rules

on his pending motion to dismiss the SEC’s civil litigation. Regarding Stanford’s first

objection, the Court explains by separate document why the attorneys’ fees awarded under

this settlement are reasonable. Stanford’s second objection belies the relief he seeks: if

Plaintiffs’ claims against Hunton are indeed unlikely to succeed, then Hunton’s payment of

$34 million for distribution to aggrieved investors is a considerable victory for Plaintiffs and

thus supports the Court’s approval of the settlement. Finally, Stanford’s third objection is

irrelevant, as it does not go to the settlement itself but instead the Court’s management of this

litigation. The Court thus overrules Stanford’s objections.

       Next, several individual investors object to the Hunton settlement on the grounds that

(1) the settlement recovers too little money for investors compared to fees for attorneys and

(2) the Receiver’s claims process is too slow and has not yet distributed enough money to




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investors. Though the Court empathizes with these investors for the impact Stanford’s fraud

has had on their lives, these objections are unavailing.         Contrary to the investors’

insinuations, Hunton’s $34 million payment makes this settlement one of the larger Stanford

litigation settlements to date. Especially in light of the Court’s recent rulings on the scope

of Texas’ attorney immunity doctrine, see, e.g., [251] in 12-CV-04641-N, this settlement

amount is substantial. And the attorneys’ fees awarded under this settlement are reasonable,

as explained more fully by separate document. Finally, despite the investors’ beliefs to the

contrary, the Receiver is indeed expeditiously litigating cases and seeking settlements to

recover and distribute as much money as quickly as possible to aggrieved investors. The

Court accordingly overrules the individual investors’ objections.

       Lastly, HSBC Bank plc (“HSBC”), Toronto-Dominion Bank (“TD Bank”), and

Pershing LLC (“Pershing” and collectively, the “Professional Defendants”), each of whom

are defendants in other Stanford-related actions, object to the Hunton settlement on the

ground that the bar order may extinguish their statutory right of contribution against Hunton

under the Texas Securities Act without providing the Professional Defendants any assurance

that they can receive a reduction in liability for Hunton’s proportionate fault under Chapter

33 of the Texas Civil Practice and Remedies Code.3 But the settlement squarely addresses

and resolves the Professional Defendants’ concerns, explicitly preserving the rights of parties


       3
        TD Bank and Pershing clarify that they join HSBC’s objection only for the limited
purpose of stating their position that the Hunton settlement does not impact their abilities to
designate responsible third parties in the Stanford-related actions pending against them.
However, nothing in the settlement limits the Professional Defendants’ rights to name
Hunton as a responsible third party under Chapter 33.


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in other Stanford-related actions to seek a settlement credit in connection to the Hunton

settlement pursuant to Chapter 33, in the event Chapter 33 is deemed applicable. Hence, to

the extent the Professional Defendants’ objections are meant to urge denial of the Hunton

settlement, the Court overrules them.

                                        CONCLUSION

       For the reasons set forth above, the Court denies the objections and, by separate

documents, approves the settlement, approves the associated attorneys’ fees, and enters

the bar order.




       Signed March 26, 2018.




                                                        ___________________________
                                                        David C. Godbey
                                                        United States District Judge




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